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                       AFFIDAVIT IN SUPPORT OF A COMPLAINT


        I, Andrew F. Grafton, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Special Agent with FBI. I have been in this position since September 19,

 2004. I am currently assigned to the Columbia Division, Greenville Resident Agency. While

 employed by the FBI, I have conducted and supervised numerous investigations of various types

 of federal crimes, including violent, financial and computer crimes and national security

 investigations. I am familiar with the facts and circumstances surrounding this investigation,

 both from my own investigative activities and from information obtained from law enforcement

 officers and others with personal knowledge of the facts. As a federal agent, I am authorized to

 investigate violations of laws of the United States, and as a law enforcement officer I am

 authorized to execute warrants issued under the authority of the United States.

        2.      The facts in this affidavit come from my personal observations, my training and

 experience, and information obtained from other agents, witnesses, and agencies. This affidavit

 is intended to show merely that there is sufficient probable cause to arrest GABRIEL

 STEPHENS.

        3.      Based on my training and experience and the facts as set forth in this affidavit, I

 respectfully submit that there is probable cause to believe that violations of 18 U.S.C. § 875

 (Threats via Interstate Communications) and 18 U.S.C. § 2261A (Stalking) have been committed

 by GABRIEL MICAH STEPHENS.
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                                      PROBABLE CAUSE

        4.     Based on the facts detailed below, I submit that there is reasonable grounds to

 believe that, within the District of South Carolina, and elsewhere, Gabriel Micah Stephens,

 (hereinafter known as the “TARGET USER”), used at multiple telecommunication devices along

 with multiple electronic communications devices to send email communications from the email

 account bradpeterson1@mail.com in violation of 18 U.S.C. § 875 (Threats via Interstate

 Communications) and 18 U.S.C. § 2261A (Stalking)

        5.     Beginning in early September 2018, several of the executive and line managers at

 Itron located in Seneca, South Carolina, began receiving harassing emails from

 bradpeterson95@mail.com , bradpeterson1@mail.com, and bradpeterson2@mail.com. Itron is a

 worldwide company that manufactures gas and electric meters. The TARGET USER also

 places large food orders in the managers’ names for pickup and signs them up for various

 informational emails from webpages such as www.zillow.com using the managers’ corporate

 email addresses as well as sending prank calls to them via Prankdial.com and other prank call

 applications. The TARGET USER has also attempted to reset passwords on several managers’

 Amazon.com, Netflix, Facebook and other online accounts. Additionally, the TARGET USER

 has sent anonymous text messages via an overseas texting service, Globfone. According to

 Itron, the company has logged over 1500 events in total since the communications have started.




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         6.     Beginning in mid-May 2019, the number of communications began to increase in

  volume as well as beginning to threaten extreme violence while simultaneously asking for an

  apology, via the use of E-cards including Punchbowl and Crosscards. Crosscards continues to be

  the subject’s preferred method of communications. The TARGET USER has consistently used

  email address bradpeterson1@mail.com to communicate via the E-cards to the managers at Itron

  through March 2021 at which time the TARGET USER began using

  brianbarronitron1@mail.com as well.

         7.     The following table was initially provided by Crosscards when the E-card

  messages started to become more threatening in nature in May 2019. All of these E-cards were

  from bradpeterson1@mail.com:




From Email                    Subject          Body                                 Send Date


bradpeterson1@mail.com        RIP Brian        Not sure but thinking it’s time to   2019-05-15

                              Barron 5-15-     just go ahead and take Brian

                              19?              Barron out. Maybe today around

                                               10ish am. See how I feel then

                                               when I get there. Idk maybe..


bradpeterson1@itron.com       Happy            I was in a good mood, so Brian       2019-05-15

                                               Barron gets to live for now.




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bradpeterson1@mail.com    How you can      Send a simple apology to             2019-05-15

                          end this         bradpeterson1@mail.com and I’ll

                                           stop. You don’t want to be in the

                                           cross fire between me and Brian

                                           Barron. If you are true to your

                                           faith you have to love me lol.


bradpeterson1@mail.com    To be honest..   You probably a good, smart           2019-05-14

                                           engineer, but you should of never

                                           become a manager. You’ve raped

                                           too many people. Get your head

                                           out of your ass. Oh yeah..you are

                                           totally powerless when it comes

                                           to dealing with me. Saying you

                                           are sorry for your actions is the

                                           only way this will end....The only

                                           way.




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        8.      Crosscards has provided the IP addresses from which the cards were created

 voluntarily, and all are registered to service providers overseas or to IP brokerage, Virtual Private

 Network (VPN) or mobility services located in the U.S., but who do not keep record of user data.

 Itron paid Globfone for records as the text messages came in, and all of the IP addresses were

 registered to service providers located overseas, or to IP brokerage and mobility services located

 in the U.S., but who do not keep record of user data. Ionos 1&1 (mail.com) has provided the

 email IP log data and registration information for bradpeterson95@mail.com,

 bradpeterson2@mail.com and bradpeterson1@mail.com. All IP address on the access logs are

 registered to service providers overseas or to IP brokerage, Virtual Private Network (VPN) or

 mobility services located in the U.S, but who do not keep record of user data. All email

 addresses are registered to the fictitious name Brad Peterson.

        9.      Since May 2019, Crosscards has voluntarily provided spreadsheets containing

 each message sent including date, time, requesting Internet Protocol (IP) address and requestor’s

 return email address. Over 600 messages have been provided by Crosscards between May 2019

 and January 2021.




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        10.     The manner and tone of communication has continued on almost a daily basis to

 various managers at Itron with multiple E-cards often being sent on the same day. Between

 October 11, 2019 and November 14, 2019 and again between December 30, 2019 and January

 18, 2020 the E-cards inexplicably stopped being sent but then resumed being received on almost

 a daily basis. The subject has referenced the managers’ family members, relationships, details of

 employee’s personal life and events that have occurred at Itron in the E-card messages or in the

 “From” section of the E-card, indicating someone that has intimate knowledge of the employees’

 lives and events internal to Itron. Following are a sampling of the E-card messages that have

 been sent:




 2019-06-18       - FromName: Nigglets in the Loudermilk residence - FromEmail:

 14:17:19         bradpeterson1@mail.com - Subject: Kill wow - Message: "Bloom sounds of

                  blood tomorrow morning. Ah what a rush death brings me. I, Steven Addis,

                  will seek revenge on Gus’s colostomy bag blood clot. Shipping shit. Since itron

                  ships shit I’ll ship all of y’alls decapitated heads to all of our beautiful

                  wonderful customers . Fuck truth. " -


 2019-06-18       - FromName: Brad Peterson - FromEmail: bradpeterson1@mail.com - Subject:

 4:03:20          Life too short for this - Message: "Cunt biscuit. Sweeping down and keeping

                  the genetic seed I want. Offspring ha. You fuckuts have a great day. Your

                  heads are like my punching bag. I dare say I’m like the god of tension and




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                suspension. "


 2019-06-17     FromName: Pussy bitch hell fire rage fuck you - FromEmail:

 3:11:34        bradpeterson1@mail.com - Subject: Nicki/ Lisa Carcass - Message: "Pussy

                bitch hell fire rage fuck you Bleeding bitch bring in the pussy butcher.

                Thought I was playing?? Fuck no. screams and crawling in the casket. I’m

                gonna warp your wife ass into plastic then trash it. Happy Monday!! "


 2019-06-17     FromName: Brad Peterson - FromEmail: bradpeterson1@mail.com - Subject:

 3:02:30        carcass - Message: "Oh yeah standing there thinking I’m dirt..bitch you lucky

                I didn’t beat your ass to a fucking carcass. I don’t necessarily hate you like

                some of the others here, but fuck you for all that shit you did. Hopefully your

                son grows up with better ethics than you did. Pussy bitch hell fire rage fuck you

                Danial Hudson. " -


 2019-06-17     FromName: Brad Peterson - FromEmail: bradpeterson1@mail.com - Subject:

 2:49:28        Look Stanley Owens. - Message: "Hey hey..the next time I’ll rip your fucking

                eyes out of your head throw them to the ground and stomp on them. While Joe

                Coker and Steven Addis jizz in your eye stocks. Yeah they into that. Lazy pig.

                Fuck you to death Stanley Owens."


 2019-06-14     FromName: Brad Peterson my plans - FromEmail: bradpeterson1@mail.com -

 4:33:34        Subject: My plans. - Message: "I was talking to my therapist in Greenville

                about my frustrated relationships at work. It has helped me some. I was



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                recommended electroconvulsive therapy. It’s got kind of a bad rap, but they

                have actually made many advances in it. I was told it potentially could be very

                beneficial seeing has the meds and talking it out doesn’t all ways work that

                great, has you know. Ha. I have to do this at Emory in Atlanta. I’m nervous but

                hopeful. " - SendDate: 6/14/2019 12:00:00 AM


 2019-06-13     FromName: Danial Hudson - FromEmail: bradpeterson1@mail.com - Subject:

 13:45:18       Acid in the eyes - Message: "Having dinner at 5 at Steven Addis house. Gonna

                talk. I’m excited. He actually invited me believe it or not. What hurts is you

                can’t say you were wrong. Even I can do that. Brian is now a personal friend oh

                mine, but that was a real rocky start for us. People can change. I just want you

                soulless pigs to feel what I felt/feel.. obliteration it seems is the only way. But

                I hate that tho. Snap necks might give me relief. But after it’s all said and done

                would I be like did this really fix what was wrong??? It’s a fucking dilemma. "

                -


 2019-06-13     FromName: Danial Hudson fuckston death - FromEmail:

 13:34:20       bradpeterson1@mail.com - Subject: shit list - Message: "Hey you are not on

                the shit list but you keep avoiding my important messages you will be. I will

                fucking obliterate your lazy useless fucking ass. The whole fucking family too.

                Show some respect for once. "




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 2019-06-13     FromName: Dinner your place - FromEmail: bradpeterson1@mail.com -

 13:29:47       Subject: Fuck - Message: "We still on for dinner this afternoon at your house?

                See you there. "


 2019-06-13     FromName: Scheduling/Logistics meeting - FromEmail:

 3:13:59        bradpeterson1@mail.com - Subject: Tissue time - Message: "Tissue time.

                Anal psychological cleansing 10 am. Trees down on poll dancers. Nicki Addis

                sex tape deal. Toyota Body pictures Athletic cup. Lisa trans tanning fuck

                ban. Suck marshmallow. Gut splattered. Bleed bitch bleeeeeeeeeeeed. Brad

                Peterson respects Cow milk. But they have futuristic points. Ok we will be

                over for dinner this afternoon. After work. Waiting on my meds. Thanks for the

                invite. "


 2019-06-13     FromName: Gas R&D meeting - FromEmail: bradpeterson1@mail.com -

 2:59:54        Subject: Human fucked raw - Message: "I’m not sure I’m even a human

                fucking being thanks to this goddamm gas dept. please put me down. I’m

                fucking begging you. Use your engineering ability’s to develop a way to kill

                all of us robots. You hate us, so just fucking kill us. End this motherfucking

                psychological torture experiment. If you don’t act. You will see the darkness of

                me come out. I’m giving you an opportunity to kill me first. "




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  2019-06-12      FromName: Brad Hanks six mile - FromEmail: bradpeterson1@mail.com -

  13:35:06        Subject: Sword - Message: "My dick is a sword it’s all the way in your mouth.

                  I’m just twisting and turning it now. Bloody cum death is here. Then I’ll put

                  my dick in my own mouth. No consequences . No afterlife. Lazy, evil people.

                  You don’t get to rape people with out my own justice. Racist pigs. "


  2019-06-12      FromName: Paige/Nicki Fuck tape - FromEmail: bradpeterson1@mail.com -

  12:24:00        Subject: Fuck tape - Message: "The fuck tape of Paige Simpson and Nicki,

                  Addis, Steven Addis wife, is now up on Pornhub. Thanks everyone for all the

                  hard work on this project. " -


  2019-06-12      Tom Deitrich - FromEmail: bradpeterson1@mail.com - Subject: Fucked god

  4:28:44         becomes man - Message: "Is it just me or dose Tom Deitrich look like

                  someone who was in Hitler’s inter circle? Hard to be hot of yourself when you

                  feed off of someone else colostomy bag. Assume the position. Flatulence

                  R&D. Death screams reek of widows alone in this gas meter paradise. I’m just

                  trying to build a legacy here at Itron. How I’m I doing so far? Constructive

                  criticism is welcomed, but you might get fucked to death over it. Maybe not.




         11.    The following E-card messages provided by Crosscards mostly target the Itron

  HR manager and the past death of her adopted daughter.




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  2019-07-15    FromName: Brooke’s Evisceration - FromEmail: bradpeterson1@mail.com -

  1:13:43       Subject: Dead - Message: "First up slut, is it Dobbins or Garren? Was his

                dick worth your your daughter offing herself? Only thing you worst at than

                HR is     apparently being a parent. Oh      adopt, what’s the matter can’t

                reproduce? You broke your horses back bitch. Pull that wedgie out of Lane

                Bryant stretchys. I’ll slap the fat off of your dinosaur face . Go chock to

                death on Mr. Garren cum cunt. - Kim Rothell " - SendDate: 7/15/2019

                12:00:00 AM


  2019-07-18     FromName:       Brooke’s     evisceration    reviews         -   FromEmail:

  2:49:43       bradpeterson1@mail.com - Subject: I’ve made it! - Message: "Wow. Holy

                fucking   soaking wet    pussy fucker. How about that roast         of Brooke

                yayyy?? I’m so proud of that one. I’ve been letting that one settle in. I’m

                always honest, but sometimes I’ll embellish, but goddamm...that Brooke

                roast was 100% true. She basically killed her daughter because of her

                selfish desires to get fucked by a different dick than the one the daughter

                wanted her to have. Any who. I hope all of you die a painful death. Who

                should I eviscerate next.???? The online reviews for the Brooke’s one has

                been overwhelmingly positive. Fuck I really out did myself on that one.I’m

                happy and proud. Certainly seriously I’m happy right now. I hope this

                sensation never ends...I feel like your flesh melted slimy smearing it all over




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                  my genitals." - SendDate: 7/18/2019 12:00:00 AM




         12.    The following E-cards are referring to an accidental death that occurred at Itron

  on February 20, 2020.

   2/20/202 From: 21.     Subject:       Message: "I would like to take the time to thank bitch
    0 13:08 Thank you     Thank you!
            Bareback                    Barron!! He has done everything in his power to get this
            Barron
                                        shithole shutdown!! So thanks bitch brian!! I love the

                                        USA too much to have this goddamm company in its

                                        borders!! Destene deserves some cock for this one. But

                                        only missionary style cause god is watching!! Saintly

                                        Hudson threatens that a line would be gone in gas!!! I

                                        love you saintly Hudson, but don’t threaten just ducking

                                        do it!!!! I’d love for none of this to be here. All the losers

                                        who live off the labor of me would have to get real jobs

                                        for the first time in their lives. Nervous Worley and soft

                                        Dinapoli both respectively have their heads up their

                                        asses. BUT wouldn’t it be more entertaining to see them

                                        put their heads up the other ass???? Change of scenery!!




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                                    But please keep up the good work bitch Barron!!!

                                    Anything I can do to advance your cause of itron

                                    destruction you let me know. And I’ll be there for you!

                                    I’m has reliable has Steven Addis cum shots!!! "


   2/20/202 From:       Subject:    Message: "This is your fault killer Brian Barron! A
    0 15:52 Brian       wow
            Barron                  decent person would shut this bitch down for the day.
            killed
                                    Fuck you. Fuck money. You are a goddamm murder.
            him!!
                                    Life unfair. Why couldn’t one of you lazy fucks die?

                                    Rather than someone who actually worked for a living??.

                                    Out of respect I’ll say no more apart from reminding you

                                    that you did this! This is 100% your fault. Rather you

                                    agree or not is beside the point. If you have any

                                    conscious you’ll know until the day you die you killed

                                    him... it’ll eat away at you cause you did do it!! why

                                    couldn’t it have been you that died???"


   2/20/202 From: 22.    Subject:   Message: "Brian the bareback killer is in hot water!!
    0 23:56 Addis’s     fucked
            shock                   OSHA is gonna be deep in your bitch ass!! you were so
            cock
                                    focus on stupid shit, like your steel toe shoes fetish, you

                                    forgot the serious stuff! This stain on your legacy is

                                    permanent! I’ll never let you live it down!! I’ll never




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                                       cease to wonder why people like you continue living

                                       when good people die. You should be charged with

                                       manslaughter!! I’ve been saying for the last 33 years this

                                       shithole is not safe! No not safe at all! Just the other day

                                       Steven Addis had his cock out in the hallway swinging it

                                       around here and there. Man.. I saw Addis cock I nearly

                                       had a heart attack right there!!! Just the magnificence of

                                       it all put me in a shock!! I reached to hold that cock and

                                       boom I was nearly done.. You are a dangerous man

                                       Steven!! "




        13.     Following are additional examples of some of the most recent E-card messages

  sent by bradpeterson1@mail.com:

   1/1/21               Subject:       Message: "You might as well be dead it’s not like you
   18:23      FromName: Lazy cunts
              HR dead                  do anything you lazy pile of fucking shit. I wanna snap

                                       your fucking neck into. "


    1/1/21           Subject:
                                       Message: "Can’t wait to blow your douche bag face
     18:25 FromName: Cunt
           Low grade                   off!"
           barron

    1/2/21           Subject:
     19:55 FromName: Cunt              Message: "Take a ducking corkscrew and twister your
           Sleazy


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           barron                   ducking eye sockets hahah. If ever there was a person

                                    who deserves to be hit by twisted tea it would be you.

                                    You just keep coming but useless. Hahah "


    1/3/21           Subject:       Message: "Destine trying to tell me that the nato pods
     20:42 FromName: Cube
           Obsolete                 don’t activate in division for hangar nine.. oh ... first off
           Barron
                                    you stupid fucking cunt. I can end your thoughts

                                    anytime!! "


   1/10/21             Subject:
     10:05 FromName: Bitch
           Justice for              Message: "You killed your daughter! "
           Allison

   1/11/21            Subject:
      6:04 FromName: Justice For
           Troy      Allison        Message: "I know what you did!!!! "
           Nicholson

   1/11/21             Subject:     Message: "Rimjobs!!!!! Clowns!! Bareback Barron
     11:48 FromName: Baby
           nigg Rat                 running out of blood!! Hahahah bitch dogface cunt ass
           Shit
                                    bitch Brian burn in hell. Moot. Lot coot pig Joe Coker
           yummmm
           m coot cunt              fucking 2 year old Pusey not even.nigger. I bet Destene
           burn
           Kimberly                 is one of them q nuts that thinks that Don is the Messiah.
           slaughter
                                    Haha I bet she speared her shit all of the walls of the

                                    Capital Baci cunt. Wacko bo booo"




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   1/12/21               Subject:
      4:50 FromName: Judge
           Allison’s                Message: "I know!! "
           stiffness lol

   1/12/21           Subject:       Message: "Dogface, who’s never been laid, needs to
      4:51 FromName: Weeping
           Charley                  stay away from my man! No trying to storm Steven
           Rothell
                                    Addis cock!!!! "
           Death

   1/12/21              Subject:    Message: "You know what I want to do? I want to take
      5:01 FromName: Wow my
           Nigger cunt goals        that dogface Kim. Ok? I want to pull that wig off ok?
           Kike 1
                                    And I want to stuff that wig up that artificial pussy ok? I

                                    want to push it so hard that the screws that the fake mad

                                    pussy doctor put in falls the duck out!!!!! Bare back

                                    Barron it’s time to parish!!! "


   1/12/21            Subject:      Message: "Yeah that weird motherfucker is too busy
      6:21 FromName: Destene
           Pedophile hanging        fucking his 12 year old baby sister to read my daily news
           Joe Coker
                                    updates.. wrangler pasty cunt bitch!! Useless itron. "


   1/14/21              Subject:    Message: "I’m happy that Allison can RIP without her
      6:14 FromName: Cunt
           Allison     payback      beast of a mother ducking with her! Steven Addis wife
           screams lol
                                    actually seems like a good person. Tbh. I’m upset that

                                    don in no longer on Twitter cause tbh I get a lot of my

                                    ideas from his stuff. I guess my inspiration will have to




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                                          come from mutating Brian Barron small dick. It’s hard,

                                          not his dick, but it’s hard for me cause it’s so small I

                                          have to find the goddamm thing first. Then I can spread

                                          it aloud our out cube cunt. "


   1/17/21           Subject:
     20:28 FromName: Die                  Message: "Die "
           Fat CUNT




         14.    For the purposes of this request, the Affiant has only included text messages E-

  Cards and emails relevant to establish reasonable grounds for this affidavit. From on or about

  September 2018 to present, over 1400 communications have been logged by Itron, some of

  which have threatened the managers’ families.         Until March 8, 2021, all of the E-card

  communications were consistently from Bradpeterson1@mail.com, in addition to anonymous

  food orders, anonymous text messages and prank calls. On March 8, 2021, 12 E-cards were sent,

  six from bradpeterson1@mail.com and six from brianbarronitron1@mail.com. After March 8,

  2021, most E-card communications have indicated coming from brianbarronitron1@mail.com.

         15.    Brian Barron is the Itron Oconee County Plant Manager and has been one of the

  main recipients and subjects of the threatening and harassing text messages, emails and E-cards.

         16.    On March 29, 2021, 1&1 IONOS Inc. Legal Counsel, who manages records from

  mail.com, provided that the email address brianbarronitron1@mail.com was registered on March

  8, 2021 and listed an alternative email address of bradpeterson1@mail.com. IP addresses within

  the same IP address blocks 74.91.0.x and 69.160.24x.x were used to access the mail.com


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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
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                          Date Date
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  accounts and send E-cards between March 19, 2021 and March 23, 2021. Both IP address

  blocks are associated with Tunnel Bear VPN servers.

         17.     As a sophisticated cybercriminal, the TARGET USER consistently takes steps to

  hide his/her true identity and the location from which he/she is connecting and communicating.

  For example, thus far, almost all known incoming communications have utilized a VPN, thereby

  obscuring the TARGET USER’s true identity. On a limited number of occasions, the IP

  addresses associated with the communications and account access did not utilize a VPN and

  instead are associated with mobility IP addresses.

         18.     On March 10, 2021, an E-card was sent by brianbarronitron1@mail.com to

  joe.Dinapoli@itron.com, Christopher.smith@itron.com, and michael.worley@itron.com with the

  “from” field completed as “Brian Ass Ducking”. The sending IP address was

  2600:1004:b0d2:2367:c499:2e07:392a:181f. A WHOIS lookup for this IP address at

  https://centralops.net/co/, indicates this is a mobile IP address registered to Cellco Partnership

  DBA Verizon Wireless.

         19.     On March 19, 2021, Verizon Wireless provided the IP address

  2600:1004:b0d2:2367:c499:2e07:392a:181f at the time the card was sent on March 10, 2021 was

  assigned to the following subscriber and equipment:

                  a. Telephone: 864-533-8258 (TARGET USER TELEPHONE)

                  b. Device: IPHONE 12 PRO MAX 128 BLUE SO

                  c. IMEI: 356717111065933

                  d. IMSI: 311480592645590

                  e. Subscriber: Gabriel Stephens


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      8:21-cr-00411-HMH
                    *SEALED*
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                 f. Address:                         Seneca, SC 29678

                 g. Work and Home Telephone Number: 864-557-0126

                 h. Effective date: December 12, 2020

         20.    In July 2019, Brooke Garren, Itron HR Business Partner, Oconee provided a list

  of Itron second shift employees. The list included an employee named Gabriel Stephens.

  Through open source research, a Facebook account for Stephens was identified as

  Gabriel.stephens.7, 100000969010766. Facebook provided the following from the account:

                 a. Gabriel Stephens

                 b. Telephone: 864-557-0126

                 c. Gabriel90sc@icloud.com

                 d. Gabrielms90@icloud.com

                 e. Gabriel.stephens.7@facebook.com

                 f. 100000969010766@facebook.com

                 g. IP address: 2600:387:2:811::b3 on 2019-07-04

         21.    On March 23, 2021, Garren confirmed Stephens was still employed by Itron and

  provided email correspondence she had with Stephens identifying his email address as

  gabriel90sc@icloud.com. Stephens’ Itron shift leader, Pam Mauldin, provided to Garren the

  telephone number she had for Stephens is 864-557-0126, the same number listed as the work and

  home phone by Verizon Wireless and registered with Facebook.

         22.    In April 2019, Itron voluntarily obtained text message information from Globfone

  for the messages sent to Itron employees through the Globfone service. Information captured by




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  Globfone identified the two types of sending devices for the text messages sent between

  September 2018 and April 2019. The devices were either an iPhone or an iPad.

         23.      Beginning in June 2019, E-card company Crosscards began providing

  spreadsheets containing the sending information and card messages. Between June 2019 and

  January 8, 2021, Crosscards sporadically captured User Agent String information identifying the

  TARGET USER’s device as either an iPhone or an iPad. Beginning on January 8, 2021, as a

  result of changes to Crosscard systems, Crosscards began capturing User Agent String data

  consistently. From January 8, 2021 through May 3, 2021, the sending device has been identified

  as an iPhone.

         24.      Facebook provided that user account 100000969010766 had been accessed by the

  following mobile devices:

         Mobile Devices Type iPhone

         Os iPhone OS 14.3

         Updated 2021-03-30 15:35:46 UTC

         Advertiser Id 4f84b376-be7f-49f6-ab32-66abfbf4c054



         Type iPad

         Os iPhone OS 13.2.3

         Updated 2021-03-30 03:17:40 UTC

         Advertiser Id 15117584-60e0-4737-a13d-ab00d2ea7187




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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
                          Date Date
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         Type iPad

         Os iPhone OS 14.1

         Updated 2021-02-28 02:32:23 UTC

         Advertiser Id 4802aef1-5e6d-44e8-8ce4-07051149d8ea



         Type iPhone

         Os iPhone OS 14.2

         Updated 2021-01-11 17:04:28 UTC

         Advertiser Id b55d5921-56f5-4a36-b83f-f4a83fac91cc


         25.      On April 12, 2021, in response to legal process, Apple provided the Apple

  ID/email account gabsc90@icloud.com, gabriel90sc@icloud.com and gabrielms90@icloud.com

  (TARGET USER ACCOUNTS) were also associated with Gabriel Stephens,

     Seneca SC, 29678, Apple ID/email gabriel90sc@icloud.com, and/or IMEI

  356717111065933. Note, this IMEI number is associated with TARGET TELEPHONE number

  864-533-8258 per VERIZON records. Additionally, Apple provided that numerous Apple

  devices had been registered with this user’s iCloud account including but not limited to:

  serial number       date reg received        product description

  CC4NF8GGF4RW        2014-11-09 18:28:16      IPOD SHUFFLE 2GB BLUE-USA

  F4KN5TVFFCM5        2015-01-16 12:53:36      IPAD MINI 2 WI-FI 16GB SPACE GRAY-USA

  FCDNV7BDG07L        2015-03-01 05:44:16      IPHONE 5C BLUE 8GB TRACFONE-USA

  CCQP60Y5F4JW        2015-03-13 21:16:43      IPOD TOUCH 32GB BLUE-USA

  FH7Q68VBG99F        2015-10-09 16:19:05
                                               APPLE WATCH 38MM S GRY AL BLK SPORT-



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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
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                                               USA

  DNPQV45DGRXT       2016-01-16 23:22:47       IPHONE 6S GOLD 16GB AT&T-USA

  DMPWCFNGJMXJ       2019-03-02 05:52:11       IPAD WI-FI CELLULAR 32GB GOLD AS-USA

  G0PXC08CKPFW       2019-03-02 06:08:29       IPHONE XS GOLD 256GB AT&T-USA

  DLXR2TD2GMW3       2019-03-02 07:57:28       IPAD PRO 12.9 WIFI CL 128GB GRAY AS-USA

  G6TZKBF5N70L       2020-02-05 19:22:11       IPHONE 11 PRO MAX MG 256GB ATT-USA

  G6TZKBF5N70L       2020-04-22 20:26:08       IPHONE 11 PRO MAX MG 256GB ATT-USA

  DMPWCFNGJMXJ       2020-08-26 01:28:23       IPAD WI-FI CELLULAR 32GB GOLD AS-USA

  DLXR2TD2GMW3       2020-08-26 06:45:41       IPAD PRO 12.9 WIFI CL 128GB GRAY AS-USA

                                               APPLE WATCH S6 44 BLU AL NAVY SP CEL-
  GY6DCCTXQ1XQ       2020-10-24 18:51:04       USA

  GG7DPGAWQ16M 2020-12-05 00:36:01             IPAD AIR WI-FI 64GB SPACE GRAY-USA

  F2LDKCWE0D42       2020-12-12 21:41:58       IPHONE 12 PRO MAX PBLUE 128GB-USA




         26.     This list of registered devices includes multiple iPads. The list also includes

  multiple iPhones that were AT&T associated iPhones. Multiple IP addresses linked with sending

  the harassing communications that were not associated with a VPN service were identified as

  AT&T mobile IP addresses. Additionally, on at least nine instances between March 10, 2021

  and May 3, 2021, E-Cards were sent from a VERIZON mobile IP address.

         27.     Further review of the data provided by Apple provided the following:

         28.     Within the ‘Notes’ section of the TARGET USER ACCOUNTS, an entry was

  made with the email address jaden.humphries@us.bosch.com. On February 5, 2020 an E-card

  was sent to jaden.humphries@us.bosch.com from “Jaden’s tight asshole’ and on October 11,


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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
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  2020, an E-card was to jaden.humphries@us.bosch.com from ‘Jaden’s ass fucked’. Both cards

  were sent from bradpeterson1@mail.com. Open source research indicates the email address

  belongs to Jaden Humphries. Humphries attended Tri County Technical College and was a

  resident in and around Oconee County SC until 2018.

         29.        Itron employees that are frequently the recipients of the E-cards and referenced in

  a derogatory or threatening manner in the E-cards include but are not limited to Kim Rothell

  (Rothell), Steven Addis (Addis), Joe Coker (Coker), Brian Barron (Barron), Joe DiNapoli

  (DiNapoli), Mike Worley (Worley) and Daniel Hudson (Hudson). In addition to the E-cards,

  these employees and others were also the recipients of the numerous prank calls, text messages,

  spam emails, county property tax receipts (Pickens and Oconee counties) and account password

  reset requests.

         30.        A review of the TARGET USER ACCOUNTS show screen shots that appear to

  be searches for Itron employee personal information such as address and telephone numbers on

  websites such as Whitepages.com, BeenVerified.com, Google.com and Nuwber.com. For

  Worley, two screen captures for his information were found on Whitepages.com and two on

  BeenVerified.com. For DiNapoli, one screen capture on Whitepages.com. One web search

  (believed to be Google.com) for Rothell’s information. One screen capture showing a

  Nuwber.com lookup for Hudson. One Whitepages.com lookup for Coker’s information.

         31.        The TARGET USER ACCOUNTS contained a screen capture from an unknown

  source showing a list of names, addresses, email addresses and titles. This list contained the

  name, address and email address of Amy Worley. Amy Worley is the spouse of Mike Worley




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8:21-mj-00055-MCRI
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                    *SEALED*
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  and has been referenced in many of the E-cards sent by the TARGET USER in a derogatory or

  threatening manner.

         32.     The TARGET USER ACCOUNTS contained a screen capture of a Facebook

  search for Just Off The Beach Airbrush (JOTBA). The address listed is 1210 Autun Road,

  Pendleton, SC. JOTBA is Lisa Coker’s place of employment. Lisa Coker is Joe Coker’s spouse

  and has been referenced in multiple E-cards in a derogatory or threatening manner by the

  TARGET USER.

         33.    The TARGET USER ACCOUNTS contained a screen capture of an email from

  Crosscards.com confirming that Joe Coker had viewed an E-card sent. Following is the screen

  capture:




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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
                          Date Date
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                                           06/10/21
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         34.    The TARGET USER ACCOUNTS contained a screen capture of an email draft

  addressed to Chris.smith@itron.com. The email program that is being used to compose the draft

  email is mail.com.




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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
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         35.     The TARGET USER ACCOUNTS contained a screen capture of a search on the

  website clustermaps.com for the address                         Seneca. The capture shows

  ‘known residents’ as Geraldine Dinapoli, James P Dinapoli, and Joseph P Dinapoli. Geraldine

  and James P Dinapoli are Joe DiNapoli’s parents, and the address is Geraldine’s home address.

  Geraldine has been referenced in at least one E-card.

         36.     The TARGET USER ACCOUNTS contained a screen capture documenting the

  creation of the email account dickaddis@mail.com. The top of the screen capture shows the

  device creating the account is being used as a Personal Hotspot, sharing its Internet connection

  with three other devices. Following is the screen capture:




                                                  26
8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
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         37.    A review of the TARGET USER ACCOUNTS found the following screen

  capture. The screen capture shows a Netflix notification confirming a code was sent to reset the

  user password associated with the telephone number 864-314-7860. The telephone number, 864-

  314-7860, is Worley’s cellular telephone number.




         38.    Within the ‘Notes’ section of the TARGET USER ACCOUNTS, the following

  entry was found: “It’s pretty pathetic that you goddamn assholes have not acknowledged the fact

  that someone died here. So secretive about the fact that human life died here. Fuck your meters

  and fuck you too. All of you need to be cut ear from ear. Ashit on your hierarchy system. Brian



                                                 27
8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
                          Date Date
                               Filed Filed
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  Barron is A criminal. Tech in the Navy my ass you were getting fucked by sand niggers bitch

  Barron. You fucking pigs care more about production than you do human life. I hope his family

  sues the shit out of this place. I offer my services to testify for the family can you see me up on

  the stand telling the whole world about Stephen Addison’s cock”.

          39.     On February 25, 2020, an E-card was sent from bradpeterson1@mail.com with

  the subject ‘There will be justice’ with the following message content: "It’s pretty pathetic that

  you goddamn assholes have not acknowledged the fact that someone died here. So secretive

  about the fact that human life died here. Fuck your meters and fuck you too. Ron deserves better.

  He was a good guy and actually worked. All of you need to be cut ear from ear. I shit on your

  hierarchy system. Brian Barron is a criminal. Tech in the Navy my ass you were getting fucked

  by sand niggers bitch Barron. You fucking pigs care more about production than you do human

  life. I hope his family sues the Jesus shit out of this place. I offer my services to testify for the

  family can you see me up on the stand telling the whole world about Steven Addis’s COCK!!!!!

  fucking justice!! " The message language is almost identical to the ‘Notes’ entry. The card was

  sent to Worley, Barron, DiNapoli, Addis, Coker Rothell and Hudson.

          40.     Within the ‘Notes’ section of the TARGET USER ACCOUNTS, the following

  entries were observed. “Steven jizz was so full in me it ran out of my noise and ears ahhhhhh”,

  “Destene chainsaw gut fucking” and “What the fuck is bitch Barron doing? Supposed to be over

  here ducking my cunt out. Joe Coker plays sexual games with youth group at his church.”

  Although no verbatim messages were found in the E-cards sent, the vernacular and tone of the

  entries appear similar to multiple E-cards sent by the TARGET USER.




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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
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         41.        A review of the TARGET USER ACCOUNTS found the following screen

  capture. The screen capture shows ‘Recent Searches’ and includes searches for ‘cross card’ and

  ‘joe dinapoli’.




         42.        A review of the TARGET USER ACCOUNTS found the following screen

  capture. The image references the obituary of James Patrick DiNapoli (Patrick). Patrick is Itron

  Employee Joseph DiNapoli’s deceased father. Patrick, Patrick’s death and his being DiNapoli’s




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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
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  father is referenced in numerous E-cards sent by the TARGET USER including many derogatory

  messages.




         43.      A review of the TARGET USER ACCOUNTS found the following screen

  capture. A screen capture of Fort Hill Presbyterian Church. Multiple cards refer to Fort Hill

  Presbyterian.



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         44.    A review of the TARGET USER ACCOUNTS found a screen capture of an

  iPhone home page showing the Apps VPN clean and Block Bear Ad Blocker. Block Bear Ad

  Blocker is an application from the VPN provider Tunnel Bear. Multiple IP addresses used to

  send E-cards in 2021 are assigned to Tunnel Bear VPN service provider.

         45.    A review of the TARGET USER ACCOUNTS found the following screen

  capture. The screen capture is of a ‘request for callback’ entry from moneycorp. The entered

  contact information is Itron employee Addis, steven.addis@itron.com, 864-614-9935. Addis is

  the subject of numerous E-cards sent by the TARGET USER and is also the recipient of




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      8:21-cr-00411-HMH
                    *SEALED*
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                                           06/10/21
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  numerous E-cards. The email address and cellular telephone number entered in the request were

  Addis’ while he was an Itron employee.




         46.    On January 30, 2019, David Thomson residing at                          Indian

  Trail, NC, telephone number 704-821-1664, contacted the Union County North Carolina

  Sheriff’s Office (UCSO) to report harassing prank telephone calls which sounded like automated




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8:21-mj-00055-MCRI
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  or prerecorded calls. The UCSO was unable to determine the initiator of the prank calls to

  Thomson’s home telephone.

          47.    On August 31, 2019, Thomson again contacted the UCSO to report more

  harassing prank telephone calls. Additionally, Thomson received an E-card from Crosscards to

  his work email address, David.thomson@ucps.k12.nc.us, from ‘Anal Tenderization’ with email

  address bradpeterson1@mail.com.

          48.    On July 20, 2020, Thomson again contacted the UCSO to report the harassment

  began occurring again. On July 11, 2020, Thomson received an E-card from Crosscards from

  ‘Black lives matter boy!!!!!’ The message in the card was “That`s right me and my niggers are

  gonna fuck your wife up!!! We gonna be cools and allow you watch!! Hey big black dick will

  shut your nasty wife mouth the fuck up!! It`s a good thing that bitch can`t get pregnant or else

  she be having tons of nigger babies hahahahaha ha black lives matters!!" The card was from

  bradpeterson1@mail.com.

          49.    Thomson is an assistant principal at Marvin Ridge High School, Waxhaw NC

  Union county. Thomson began teaching at Sun Valley High School, Union County Schools, in

  1997. Thomson took over his current role as assistant principal for Marvin Ridge High School in

  2013.

          50.    A review of the TARGET USER ACCOUNTS shows several screenshots

  indicating knowledge and research of Thomson. Following are samples of the screenshots

  including screen captures of Thomson’s Union County School profile with his email and work

  information and Been Verified look ups of Thomson showing his home address and telephone

  number:


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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
                          Date Date
                               Filed Filed
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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
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         51.    Below is a screen capture from the TARGET USER ACCOUNT showing the

  prankdial.com website prank call selection ’Sie Kick my Dog’. The website field for ‘Friend’s

  number’ (this is the number targeted for a prank call) is completed with Thomson’s home phone

  number, 704-821-1664 and the field for ‘Send from’ (allows sender to spoof the sending

  number) with the number of the UCSO, 704-283-3789.




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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
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         52.    According to a check of the South Carolina Department of Motor Vehicles,

  TARET USER’ current address is listed as the PREMISES                             Seneca,

  SC 29678) as of January 18, 2019.

         53.    According to Accurint, TARGET USER’s current address is listed as the

  PREMISES.

         54.    On March 19, 2021, Verizon Wireless provided that the TARGET USER’s

  address was the PREMISES. On April 12, 2021, Apple Corp. provided the TARGET USER’s

  address was the PREMISES.



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8:21-mj-00055-MCRI
      8:21-cr-00411-HMH
                    *SEALED*
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         55.     On May 27, 2021, Verizon Wireless provided historic cellular telephone tower

  data for TARGET USER TELEPHONE 864-533-8258. An analysis was performed by the FBI’s

  Cellular Analysis Survey Team (CAST) on the call detail records obtained for the TARGET

  USER TELEPHONE. The call detail records documented the network interaction to and from

  the target cell phone. Additionally, the records documented the cell tower and cell sector (“cell

  site”) which served the cell phone during this activity. Used in conjunction, the call detail

  records and a list of cell site locations illustrate an approximate location of the target cell phone

  when it initiated contact with the network. Between 4/20/2021 and 5/8/2021, the most frequently

  used cell site (tower and sector) was ENB 153287 sector 2 which corresponds to the tower most

  likely used from the PREMISES. On at least three occasions, an E-card was sent within a short

  time of when the TARGET USER TELEPHONE initiated contact with the cellular network

  through tower ENB 153287 sector 2.

  Date and Time E-card sent                  Tower ENB 153287 Sector 2

                           4/23/2021 15:47                               4/23/2021 15:32

                                                                         4/23/2021 15:32

                           4/29/2021 20:01                               4/29/2021 20:00

                           4/29/2021 12:43                               4/29/2021 12:43



         56.     As noted above, User Agent String data was provided by both Globfone and

  Crosscards has identified both iPad and iPhone devices as having been used to send the harassing




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  communications. There were also a significant number of messages, E-cards, emails and spam

  communications sent using an unknown device or devices.

                                        CONCLUSION

         57.    I submit that this affidavit supports probable cause for the arrest of GABRIEL

  MICAH STEPHENS.

                                                 Respectfully submitted,


                                                 s/ Andrew F. Grafton



                                                 Andrew F. Grafton
                                                 Special Agent
                                                 Federal Bureau of Investigation


         _________________________________________
         JACQUELYN D. AUSTIN
         UNITED STATES MAGISTRATE JUDGE



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         June ___,




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